                                                                             Case
                                                                              Case2:19-cv-01886-JAD-VCF
                                                                                    2:19-cv-01886-JAD-VCF Document
                                                                                                          Document16
                                                                                                                   15 Filed
                                                                                                                      Filed12/31/20
                                                                                                                            01/05/21 Page
                                                                                                                                      Page11
                                                                                                                                           ofof
                                                                                                                                              22



                                                                               Phillip A. Silvestri, Esq.
                                                                         1     Nevada Bar No. 11276
                                                                         2     Greenspoon Marder LLP
                                                                               3993 Howard Hughes Pkwy., Ste. 400
                                                                         3     Las Vegas, Nevada 89169
                                                                               Tel: (702) 978-4249
                                                                         4     Fax: (954) 333-4256
                                                                               phillip.silvestri@gmlaw.com
                                                                         5
                                                                               Attorneys for Defendants
                                                                         6
                                                                                                           UNITED STATES DISTRICT COURT
                                                                         7
                                                                                                                   DISTRICT OF NEVADA
                                                                         8
                                                                               EDUARDO MARTINEZ, individually, and
                                                                         9
                                                                               IVONNE MARTINEZ, individually,                           Case No.: 2:19-cv-01886-JAD-VCF
                                                                        10
                                                                                      Plaintiffs,                                         STIPULATION AND [PROPOSED]
                   LLP .
            MARDERCHTD




                                                                        11     v.                                                          ORDER FOR DISMISSAL WITH
                                                               380400

                                                      (702) 771-9264
                                                            362-9472




                                                                                                                                                  PREJUDICE
                                                            Suite




                                                                        12
                                                         Suite
        & LEATHAM,




                                                                               DIAMOND RESORTS INTERNATIONAL,
                                   Las Vegas, Nevada 89169
                                                       89102
                                                  Parkway,

                                      362-7800 / Fax: (954)




                                                                               INC., a Delaware Corporation; DIAMOND
                                         HughesAvenue,




                                                                        13                                                                           ECF No. 15
                                                                               RESORTS          U.S.      COLLECTION
                                                                        14     DEVELOPMENT, LLC, a Delaware limited
 GREENSPOON
                                   West Sahara

                           Tel: (702) 978-4255




                                                                               liability company; DIAMOND RESORTS
                                                                        15     U.S.       COLLECTION         MEMBERS
                                Howard
KOLESAR




                                                                               ASSOCIATION, a Delaware corporation,
                             3320




                                                                        16
                           3993




                                                                        17            Defendants.

                                                                        18

                                                                        19            The Parties, Plaintiffs, Eduardo Martinez & Ivonne Martinez (collectively “Plaintiffs”),

                                                                        20     and Defendants Diamond Resorts International, Inc. (“DRI”), Diamond Resorts U.S. Collection

                                                                        21     Development, LLC (“DRUSC”), and Diamond Resorts U.S. Collection Members Association

                                                                        22     (“DRUSCMA”, and with DRI and DRUSC, “Defendants”) pursuant to Fed. R. Civ. P.

                                                                        23     41(a)(1)(ii) hereby stipulate and agree:
                                                                                      1.      Pursuant to an executed settlement agreement between the Parties, all claims
                                                                        24
                                                                               asserted by Plaintiffs shall be dismissed with prejudice
                                                                        25
                                                                                      2.      Each party shall bear its own attorneys’ fees and costs, except as set forth in the
                                                                        26
                                                                               Parties’ settlement agreement.
                                                                        27
                                                                                                 31st day of December, 2020.
                                                                                      Dated this ___
                                                                        28

                                                                                                                          Page 1 of 2

                                                                               45816152v1
                                                                             Case
                                                                              Case2:19-cv-01886-JAD-VCF
                                                                                    2:19-cv-01886-JAD-VCF Document
                                                                                                          Document16
                                                                                                                   15 Filed
                                                                                                                      Filed12/31/20
                                                                                                                            01/05/21 Page
                                                                                                                                      Page22
                                                                                                                                           ofof
                                                                                                                                              22



                                                                               ALBRIGHT, STODDARD,                           GREENSPOON MARDER LLP
                                                                         1     WARNICK & ALBRIGHT
                                                                         2

                                                                         3     By: /s/ G. Mark Albright, Esq.                By: /s/ Phillip A. Silvestri, Esq.
                                                                                  G. Mark Albright, Esq.                        PHILLIP A SILVESTRI, ESQ.
                                                                         4        Nevada Bar No. 1394                           Nevada Bar No. 11276
                                                                                  801 S. Rancho Dr., Ste. D-4                   3993 Howard Hughes Pkwy, Suite 400
                                                                         5
                                                                                  Las Vegas, NV 89106                           Las Vegas, Nevada 89169
                                                                         6        Attorneys for Plaintiffs                      Attorneys for Defendants

                                                                         7

                                                                         8                                            ORDER
                                                                         9                                                         IT IS SO ORDERED
                                                                                      Based on the parties' stipulation [ECF No. 15] and good cause appearing, IT IS
                                                                        10     HEREBY ORDERED that THIS ACTION IS DISMISSED               with prejudice, each side to bear its
                                                                                                                                   _________________________________
                   LLP .
            MARDERCHTD




                                                                        11     own fees and costs. The Clerk of Court is directed to CLOSESTATES
                                                                                                                                   UNITED     THIS CASE.
                                                                                                                                                      DISTRICT JUDGE
                                                               380400

                                                      (702) 771-9264
                                                            362-9472
                                                            Suite




                                                                        12
                                                         Suite
        & LEATHAM,
                                   Las Vegas, Nevada 89169
                                                       89102
                                                  Parkway,

                                      362-7800 / Fax: (954)




                                                                                                                                   DATED: ______________
                                                                                                                                _________________________________
                                         HughesAvenue,




                                                                        13
                                                                                                                                U.S. District Judge Jennifer A. Dorsey
                                                                        14                                                      Dated: January 5, 2021
 GREENSPOON
                                   West Sahara

                           Tel: (702) 978-4255




                                                                        15
                                Howard
KOLESAR
                             3320




                                                                        16
                           3993




                                                                        17

                                                                        18

                                                                        19

                                                                        20

                                                                        21

                                                                        22

                                                                        23

                                                                        24

                                                                        25

                                                                        26

                                                                        27

                                                                        28

                                                                                                                     Page 2 of 2

                                                                               45816152v1
